UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF WISCONSIN

UNITED STATES OF AMERICA

)
)
Vv. ) Case No. 18 CR 130
)
)

MARK WOGSLAND
VERDICT

We, the jury find as follows with respect to the charges against the defendant,

MARK WOGSLAND:
NOT GUILTY GUILTY

COUNT ONE: g O
COUNT TWO:
COUNT THREE:
COUNT FOUR:
COUNT SIX:
COUNT SEVEN:
COUNT TEN:
COUNT ELEVEN:
COUNT TWELVE:
COUNT THIRTEEN:
COUNT FOURTEEN
COUNT FIFTEEN:
COUNT SIXTEEN:
COUNT NINETEEN:

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PRESIDING JUROR

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Date: 7 = 29 , 2021

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